862 F.2d 313Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.John B. ENLOE, Jr., Plaintiff--Appellant,v.Walter A. BURCH, Sheriff, Larry C. Linthicum, Captain,Defendants--Appellees.
    No. 88-7695.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 30, 1988.Decided Nov. 1, 1988.
    
      John B. Enloe, Jr., appellant pro se.
      LeVon E. Wilson for appellees.
      Before K.K. HALL and MURNAGHAN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      John B. Enloe, Jr. appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Enloe v. Burch, C/A No. 87-611-G (M.D.N.C. July 11, 1988).  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      2
      AFFIRMED.
    
    